             Case 3:12-cr-04804-L                    Document 61               Filed 01/04/13                 PageID.119          Page 1 of 2


    'AO 245B (CASD) (Rev. 1/12) Judgment in a Criminal Case
               Sheet 1



                                              UNITED STATES I2lmsMd'r                                       (fWR't
                                                  SOUTHERN DISTRICr  OF CALIFOR.'NI.A'c
                                                                :}GU !·~1  : <:  ; ".• d_,'

                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                        v.                                      ;1   ~~r 0f!tl!!~~~ Committed Oifor After November 1, 1987)

                     ROMAN LARA~BARRERA (2)                                          Case Number: 12CR4804~IEG
                                                                                     THOMAS MATTHEWS
                                                                                     Defendant's Attorney
    REGISTRATION NO. 35476298

    D
    THE DEFENDANT:
    ~ pleaded guilty to count{s) ONE OF THE SUPERSEDING INFORMATION
    D     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged guilty of such count{s), which involve the following offense(s):
                                                                                                                                           Count
    Title & Section                          Nature ofOtTense                                                                             Number(s)
8 USC 1326                           REMOVED ALIEN FOUND IN THE UNITED STATES (FELONY)                                                       1




        The defendant is sentenced as provided in pages 2 through _--=2<--_ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)

 ~ Count(s) REMAINING INFORMATION                           --------------------------------------
                                                                       Igj            is         areD dismissed on the motion of the United States.
 Igj Assessment: $100.00 WAIVED


  I8l Fine waived                                  D    Forfeiture pursuant to order filed
                                                                                                  -----------                 , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change ofname, residence,
 or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                              12CR4804-IEG
         Case 3:12-cr-04804-L                   Document 61        Filed 01/04/13        PageID.120          Page 2 of 2


AO 24SB (CASD) (Rev. 1112) Judgment in a Criminal Case
           Sheet 2 - Imprisonment
                                                                                            Judgment - Page _ _2_ of          2
 DEFENDANT: ROMAN LARA-BARRERA (2)
 CASE NUMBER: 12CR4804-IEG
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED



    o Sentence imposed pursuant Title 8 USC Section 1326(b}.
                                        to

    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op·m.        on _ _ _ _ _ _ _ _ _ __
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before ----------------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                   By ________~~~~~~~~~~--------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                    12CR4804-IEG
